AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Eastern District
                                                  __________         of of
                                                              District  Wisconsin
                                                                           __________


                       William Feehan                              )
                             Plaintiff                             )
                                v.                                 )      Case No.     2:20-cv-1771
          Wisconsin Election Commission, et al.                    )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Amici Wisconsin State Conference NAACP, Dorothy Harrell, Wendell J. Harris, Sr, Earnestine Moss                      .


Date:          12/08/2020
                                                                                             Attorney’s signature


                                                                                 Jon Greenbaum, DC Bar No. 489887
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